Case 1:16-cv-03418-TWP-DML Document 73 Filed 08/10/18 Page 1 of 1 PageID #: 945



                  IT IS FURTHER
                           IN THE ORDERED    that the DISTRICT
                                    UNITED STATES     application COURT
                                                                  and this Order are sealed until
                          FOR THE SOUTHERN DISTRICT OF INDIANA
           otherwise ordered by the Court.
                                     INDIANAPOLIS DIVISION

     AARON FARRER,                                         Case No. 1:16-cv-3418-TWP-DML
       IT IS SO ORDERED
                      Plaintiff,

     vs.
                     Date: 1/27/2017
     INDIANA UNIVERSITY, et al.
                                                               ________________________
                              Defendants.                     ORDER  OF DISMISSAL
                                                               Hon. Tanya  Walton Pratt, Judge
                                                               United States District Court
                                                               Southern District of Indiana


           This matter came before the Court on the joint motion of the parties for an order of dismissal

 with prejudice. The Court having read and considered the motion, now GRANTS the motion.

           IT IS, THEREFORE, ORDERED that all claims in this case are dismissed with prejudice,

 with costs and attorneys’ fees being taxed against no party.

           IT IS SO ORDERED

           Date: 8/10/2018

                                                            ________________________
                                                            Hon. Tanya Walton Pratt, Judge
                                                            United States District Court
                                                            Southern District of Indiana




             Distribution to all electronically
             registered counsel of record via
             CM/ECF
